                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


NATHANIEL T. TAYLOR                           )
                                              )
v.                                            )           NO. 3:04-cv-63
                                              )           (CR. 3:03-cr-06)
UNITED STATES OF AMERICA                      )


                                ORDER OF JUDGMENT


              In accordance with the accompanying memorandum opinion, this pro se

motion to vacate, set aside, or correct a sentence under 28 U.S.C. § 2255 is DENIED.

Should the petitioner give timely notice of an appeal from this decision, such notice also will

be taken as an application for a certificate of appealability, which is DENIED because he has

failed to make a substantial showing of the denial of a constitutional right. See 28 U.S.C. §

2253(c); Fed. R. App. P. 22(b). The Court also CERTIFIES that any appeal from this

decision would not be taken in good faith.



              ENTER:



                                                  s/ James H. Jarvis
                                             SENIOR U. S. DISTRICT JUDGE



ENTERED AS A JUDGMENT
   s/ Patricia L. McNutt
   CLERK OF COURT



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